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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                           Chapter 11

                                                                     Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                                     (Jointly Administered)
                                          Debtors.
                                                                     Re: Docket No. 847


    CERTIFICATION OF COUNSEL REGARDING MOTION OF THE U.S. SECURITIES
    AND EXCHANGE COMMISSION FOR ORDER FURTHER EXTENDING TIME TO
        TAKE ACTION, TO THE EXTENT NECESSARY, TO DETERMINE THE
          DISCHARGEABILITY OF A DEBT TO A GOVERNMENTAL UNIT
                      PURSUANT TO 11 U.S.C. § 1141(d)(6)

            The undersigned counsel to the above-captioned debtors and debtors-in-possession (the

“Debtors”), with authority on behalf of the U.S. Securities and Exchange Commission (the

“Commission”), hereby certifies as follows:

            1.     On December 20, 2023, the Commission filed the Motion of the U.S. Securities and

Exchange Commission for Order Further Extending Time to Take Action, to the Extent Necessary,

to Determine the Dischargeability of a Debt to a Governmental Unit Pursuant to 11 U.S.C. §

1141(d)(6) [Docket No. 676] (the “Motion”). Attached to the Motion was, among other things, a

proposed form of order approving the relief requested in the Motion (the “Proposed Order”).

            2.     Pursuant to the notice filed with the Motion, any objection or response to the relief

requested in the Motion was to be filed and served so as to be received no later January 3, 2024

at 4:00 p.m. (Eastern Time) (the “Objection Deadline”). The Objection Deadline was extended

for the Debtors, the Official Committee of Unsecured Creditors (the “UCC”), and the Official

Committee of Equity Security Holders (the “EC,”) until January 10, 2024 at 4:00 p.m. (ET).


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         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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         3.    The Commission received no responses to the Motion and has reviewed the Court’s

docket in these cases and no answer, objection, or other responsive pleading to the Motion appears

thereon. In addition, neither the Debtors, the UCC nor the EC oppose the entry of the Proposed

Order.

         WHEREFORE, the Commission therefore respectfully requests that the proposed form of

order attached hereto as Exhibit A, which is materially in the same form filed with the Motion, be

entered at the earliest convenience of the Court.



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Dated: February 2, 2024
Wilmington, Delaware

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